
The judgment was affirmed on March 12, 1874, in'the following opinion:
Per Curiam.
*441If this case stood alone on the argument of dissolution between Wren and his partners, Noble and Rhoda, Wren would be entitled to an order to compel the sale of their property before the sale of his. But according to the evidence Wren ■ seems to be their debtor for moneys not accounted for and falling within the exception in the last clause of the agreement of dissolution. His position is changed by his relation as a debtor to them. Roseberry, who purchased Wren’s title at a bankrupt sale, is affected also by the fact that he seems to have bought subject to the judgment of the Miners’ Trust ■Company. Bank, and therefore paid that much less for the lots he bought. Without determining these questions we can ■only say that Roseberry’s title to equitable interference under the Act of April 22, 1856, P. Laws 534, either in the sale, or by way of contribution, is too uncertain to require us to pronounce the refusal of the Court below to make the rule absolute to be error.
Order affirmed.
